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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

        Plaintiff,
                                                                   Case No. 1:17-cr-178
 v.
                                                                   HON. JANET T. NEFF
 JOHNNY CASTON, JR.
 a/k/a Lil Johnny, a/k/a Jerk,

       Defendant.
 ____________________________/


                ORDER ADOPTING REPORT AND RECOMMENDATION

       The Court has reviewed the Report and Recommendation filed on December 15, 2017 by

the United States Magistrate Judge in this action. The Report and Recommendation was duly

served on the parties, and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1.      The Report and Recommendation of the Magistrate Judge (ECF No. 67) is

approved and adopted as the opinion of the Court.

       2.      Defendant’s plea of guilty is accepted and defendant is adjudicated guilty of the

charge set forth in Count One of the Indictment.

       3.      The written plea agreement is hereby continued under advisement pending

sentencing.



Dated: January 3, 2018                                      /s/ Janet T. Neff
                                                           JANET T. NEFF
                                                           United States District Judge
